                CaseCase 21-77, Document
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                                                                                             16-cr-0389(AKH)


                            UNITED STATES COURT OF APPEALS
                                       FOR THE
                                    SECOND CIRCUIT

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      25th day of January, two thousand twenty-one.

      Before:        José A. Cabranes,
                             Circuit Judge.
      ________________________________
       In re: Jona Rechnitz,
                    Petitioner.                       ORDER                                     Jan 25 2021
       ********************************
       Jona Rechnitz,                                 Docket No. 21-77

                    Petitioner,

       v.

       United States of America,

                 Respondent.
       ________________________________

               Petitioner moves for an administrative stay of the district court proceedings until this
      Court decides his petition for a writ of mandamus.

                 IT IS HEREBY ORDERED that the Petitioner is GRANTED an administrative stay of
      all district court proceedings until further order of this Court. The stay motion will be REFERRED
      to the first substantive motions panel whose presiding judge accepts this case for oral argument
      and disposition.


                                                          For the Court:

                                                          Catherine O’Hagan Wolfe,
                                                          Clerk of Court




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